               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                   :
                                           :
                v.                         :     1:23CR223-1
                                           :
CHAUNCEY ALEXANDER HOLLIS                  :


                  MOTION TO CONTINUE SENTENCING

      NOW COMES the United States, by and through Sandra J. Hairston,

United States Attorney for the Middle District of North Carolina, and moves

the Court to continue the sentencing in this matter, stating as follows:

      1. The defendant, Chauncey Alexander Hollis, was charged in one count

         of a three-count indictment, with conspiracy to defraud the United

         States, in violation of Title 18, United States Code, Section 371, in

         connection with obtaining, and trying to obtain, fraudulent small

         business loans that were made available during the COVID-19

         pandemic. (Dkt. #1). The defendant pleaded guilty.

      2. On July 5, 2024, the United States Probation Office (“USPO”) issued

         a Memorandum and Notice of Apparent Violation, which alleged that

         the defendant submitted a urine screen on May 31, 2024 that was

         positive for cocaine. (Dkt. #36). USPO recommended that the

         defendant remain under the same conditions of release, and the court




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   allowed the defendant to remain out of custody. (Id.; Text Order

   7/8/2024).

3. On July 25, 2024, USPO issued a second Memorandum and Notice of

   Apparent Violation, which alleged (1) that the defendant was the

   subject of interest in a hit and run that occurred on May, 24, 2024,

   and (2) that the defendant was arrested on July 20, 2024 for

   misdemeanor driving under the influence. (Dkt. #39).

4. On August 1, 2024, the court held a hearing regarding the violations

   and ultimately allowed the defendant to stay out on release as his

   sentencing hearing was scheduled for August 2 (the next day). (See

   Minute Entry 8/1/2024).

5. The next day, the defendant’s sentencing hearing was commenced but

   was ultimately continued until September 11, 2024, for various

   reasons, including to allow USPO more time to obtain information

   concerning the hit and run accident in which the defendant was the

   subject. Again, the defendant was allowed to remain out on conditions

   of release. (See Minute Entry 8/2/2024).

6. On August 26, 2024, USPO issued a third Memorandum and Notice

   of Apparent Violation, which alleged the defendant submitted to a

   urine screen on August 8, 2024 which tested positive for the presence

   of cocaine. (Dkt. #45). USPO recommended that the Court issue a
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         warrant for the defendant’s arrest. The United States thereafter

         applied for, and the Court issued, a warrant for the defendant’s

         arrest. (Dkt. ## 46-48)

      7. On August 28, 2024, deputies with the United States Marshals

         Service in the Central District of California arrested the defendant,

         and the defendant has been detained since that date.

      8. On September 10, 2024, personnel with the United States Marshals

         Service advised that it will be unable to transport the defendant here

         in time for his sentencing hearing scheduled for September 11, 2024

         and that it may take a few more weeks until transport is complete.

      9. Counsel for the United States consulted with defense counsel on this

         matter, and defense counsel did not take a position.

      Based on the foregoing, the government respectfully requests that the

Court postpone this matter until the first or second week of October 2024,

except for the morning of October 1 or October 3.

      This the 10th day of September, 2024.

                                             SANDRA J. HAIRSTON
                                             United States Attorney

                                             /S/ ASHLEY E. WAID
                                             Assistant United States Attorney
                                             NCSB #52441
                                             United States Attorney’s Office
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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 10, 2024, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to the following:

      JD Byers, Esq.




                                            /S/ ASHLEY E. WAID
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